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 6                                    UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8   MAGDALENO GALLEGOS,                           )
                                                   )
 9                   Petitioner,                   )      3:09-cv-00459-RCJ-VPC
                                                   )
10   vs.                                           )
                                                   )      ORDER
11   STATE OF NEVADA, et al.,                      )
                                                   )
12                   Respondents.                  )
                                                   /
13
14           This closed case is a pro se petition for writ of habeas corpus pursuant to 28 U.S.C. § 2254.
15   On September 11, 2012, this court entered an order denying the habeas petition and denying a
16   certificate of appealability. (ECF No. 32.) Judgment was entered the same date. (ECF No. 33.)
17   Petitioner filed a notice of appeal on September 24, 2012. (ECF No. 34.) Pending before the court
18   is petitioner’s motion to proceed in forma pauperis on appeal. (ECF No. 35.)
19           Based on the information in petitioner’s application to proceed in forma pauperis on appeal,
20   the court grants the motion. Petitioner will not be required to prepay any portion of the $455.00
21   filing fee for his appeal.
22           IT IS THEREFORE ORDERED that petitioner’s application to proceed in forma pauperis
23   on appeal (ECF No. 35) is GRANTED. Petitioner shall not be required to make any prepayment of
24   the filing fee for his appeal.
25           IT IS FURTHER ORDERED that the clerk shall send a copy of this order to the United
26   States Court of Appeals for the Ninth Circuit.
     Case 3:09-cv-00459-RCJ-VPC Document 39 Filed 10/18/12 Page 2 of 2




 1                        18th day
               Dated this ______ dayofofOctober,
                                         October, 2012.
                                                  2012.
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                                            UNITED STATES DISTRICT JUDGE
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